       4.      As set forth below, beginning in October 2019 and continuing to the present, Leach

(1) obtained private video calls and photographs of a sexual nature from Victim 1 through false

promises of payment; (2) surreptitiously recorded Victim 1 during these calls; (3) threatened to

share the recordings with Victim 1’s parents if Victim 1 did not continue to send him content of a

sexual nature over Instagram; and (4) repeatedly harassed and extorted Victim 1 for additional

interactions of a sexually explicit and degrading nature.

                                       AGENT BACKGROUND

       5.      I have been a Special Agent with the Federal Bureau of Investigation (“FBI”) since

March 2020. Since January 2021, I have been assigned to the Violent Crimes Task Force in the

FBI’s Boston office. As a federal agent, I am authorized to investigate violations of United States

law and to execute warrants issued under the authority of the United States.

       6.      In these roles, I have received training in the investigation of violations of federal

law, including computer-facilitated crime, and I have participated in numerous investigations as

both a case agent and as an assistant to other agents.

       7.      The facts in this affidavit come from my personal observations and review of

records, my training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for the requested

complaint and does not set forth all of my knowledge about this matter. Statements attributed to

others are in substance and in part.

                                        PROBABLE CAUSE

       Victim 1

       8.      On January 25, 2021 and March 15, 2021, I met with Victim 1, who reported that,

since December 2019, Leach had been harassing, threatening, and demanding sexually explicit



                                                 2
communications from her over Instagram, a social media network that allows its subscribers to

share photos, videos, and messages with others.

       9.      Victim 1 first communicated with Leach in October 2019.3            She had used

Instagram’s search function to view posts containing the hashtag “FitPics” and similar hashtags.

Based on my experience investigating computer-related offenses, I understand that the “FitPics”

hashtag is commonly used to identify other Instagram users who are willing to pay money in

exchange for images or online interactions of a sexual nature. After reading a comment left by

Leach to one such post, Victim 1 sent a direct message to Leach.

       10.     In direct messages with Leach, Victim 1 agreed to interact with Leach, and Leach

agreed to pay Victim 1 approximately $200 via CashApp, a mobile payment application. Victim

1 sent Leach her CashApp username and a photograph of herself, which Leach had requested in

order to verify that she was the person depicted in her Instagram profile image.

       11.     Victim 1 and Leach connected using Instagram’s video chat feature. On this first

video call, Victim 1 was visible to Leach, but Leach’s screen was blank. Leach instructed Victim

1 to undress and perform various actions of a sexual nature. Victim 1 complied with Leach’s

instructions. The video call lasted for approximately ten minutes.

       12.     Later during the day of the first video call, Leach sent Victim 1 a direct message

requesting a second video call. Once he connected with Victim 1 over video chat, Leach again

instructed her to undress and to perform various sexual actions. During this second call, Leach




       3
         Victim 1 received messages from, and interacted with, the same individual using various
Instagram accounts to harass and threaten her. She later identified this individual as Leach, and
investigators have corroborated this identification. Accordingly, this Affidavit identifies the
individual as Leach.

                                                  3
used a cell phone to send video to Victim 1 of himself masturbating. Victim 1 observed that Leach

was a white male.

         13.   After the second video call, Leach requested that Victim 1 send him several

photographs of herself in various poses. Victim 1 complied with this request.

         14.   At the end of these October 2019 interactions, Victim 1 sent Leach several direct

messages requesting that he pay her by CashApp, as the two had agreed. Leach told Victim 1 that

he needed more time to send the money and suggested that Victim 1 continue to have video calls

with him for the remainder of the week. Victim 1 declined to do so. Leach then stopped

responding to Victim 1’s messages and did not pay Victim 1. Leach’s Instagram account appeared

to Victim 1 to vanish from Instagram.

         The Extortion and Harassment Begins

         15.   In approximately December 2019, Victim 1 received a direct message over

Instagram from a username that she did not recognize. Based on its content, she believed it to be

Leach, the same individual who had tricked her into sending sexually explicit communications.

Leach sent to Victim 1 a video and asked her what her father would say were he to see the video.

Victim 1 recognized the video as a recording of her from one of her October 2019 video calls with

Leach.

         16.   In response, Victim 1 asked Leach what he wanted and whether he was seeking

money from her. Leach demanded that Victim 1 video chat with him again immediately. He sent

to Victim 1 a photograph of her parents’ Instagram account information and indicated to Victim 1

that he would send the recording to her parents if she did not comply. Leach indicated that he

would delete the recording at the completion of the video call.




                                                4
       17.     Because she feared that Leach would send the recording to her parents, Victim 1

complied with Leach’s demand. During an approximately 40-minute video call, Leach instructed

Victim 1 to undress and to perform actions of sexual nature. Leach made misogynistic comments

and demanded that Victim 1 make degrading statements, such as, “I’m a stupid whore.”

       18.     At the end of the December 2019 video call, Leach, over his video feed, showed

Victim 1 a folder on a desktop computer labeled “Game of Thrones.” Leach clicked through this

folder and a sub-folder labeled “2020” to open a sub-folder labeled with a nickname for Victim 1,

which contained several multimedia files. Leach then deleted these files, telling Victim 1 that he

was “done” with her, that he was “going back” to his “other girls,” and that Victim 1 had been one

of his “favorites.”

       19.     After the December 2019 video call, Victim 1 changed her Instagram privacy

settings to permit only followers to view her profile and to screen requests by others to follow her

profile or communicate with her.

       20.     In or about late February or early March 2020, Victim 1 received message requests

and follow requests from Instagram usernames that she did not recognize, including from accounts

with the usernames “antonio.af.94” (the “antonio.af.94 Account”), “christhecool777” (the

“christhecool777 Account”), and “      guy2020” (the “      guy2020 Account”). The         guy2020

username appeared to reference a nickname for Victim 1. The username for another Instagram

account that attempted to contact Victim 1 contained another nickname for her followed by

“_the_liar.” When Victim 1 tried to block the message and follow requests from these accounts,

Leach created other Instagram accounts from which to contact her.




                                                 5
       21.     In messages with one of these accounts, Leach demanded that Victim 1 return home

from work to video chat with him. Leach told Victim 1 that he would stop contacting her if she

video chatted with him every day during the next week.

       22.     Victim 1 complied with Leach’s demand and video chatted with him throughout

the week. On these calls, Leach instructed Victim 1 to perform sexual actions and call herself a

“dumb whore” and a “dumb bitch.” When Victim 1 resisted Leach’s demands, Leach insisted that

she comply, telling her, in substance, “you know what you have to do.”

       23.     During these calls, Victim 1 asked Leach to stop harassing her and to tell her why

he kept pursuing her. On one of these occasions, Leach responded that he did not know why he

did so, commenting, “I’m an enigma, baby.” On another occasion, Leach told Victim 1, in

substance, “I’m not a bad guy; I just have a problem.”

       24.     During one of these video calls, Leach shared video feed of himself masturbating

in the shower. Victim 1 observed that Leach was “chubbier.”

       25.     On one call, Victim 1 asked Leach to prove that he was not recording the video call.

Leach replied that Victim 1 needed to trust him and stated that he could not show her his screens

because they displayed “school stuff.”

       26.     Victim 1 asked Leach if he was somebody that she knew. Leach responded that

she did not know him and that he lived in Georgia.

       27.     After the week of video calls, Victim 1 received additional follow requests

appearing to be from Leach, but Victim 1 did not interact further with him.

       28.     In or about late April 2020, Leach again contacted Victim 1 over Instagram, using

the username “johnnsy_bravo777.” Leach demanded that Victim 1 video chat with him, and




                                                6
Victim 1 complied. The video call proceeded similarly to prior video calls between Leach and

Victim 1.

       29.     After the April 2020 video call, Victim 1 asked Leach questions about himself via

Instagram direct messages. Leach shared with Victim 1 that he was in his twenties. Victim 1 also

asked Leach to send a photograph of himself. Leach responded with a “selfie” photograph that

appeared to have been taken through the Instagram application and sent as a “disappearing”

photograph, viewable only once by Victim 1. Victim 1 used a digital camera to take a photograph

of her phone with the selfie from Leach displayed on it (the “Leach Selfie”).




                                       Figure 1: the Leach Selfie.

Victim 1 subsequently received additional follow requests from Leach but did not interact with

him further at the time.

       30.     In or about July 2020, Victim 1 received a series of follow and message requests

from more Instagram accounts that she did not recognize. One such message addressed her by a

nickname and demanded, “talk to me” and “answer.” Victim 1 declined these requests.



                                                   7
        31.     In or about September or October 2020, Leach contacted Victim 1 under another

username and demanded a video call. Victim 1 complied. On the video call, Victim 1 became

emotional and pleaded with Leach to stop, reminding Leach that he had said he would be done

with her.     Leach instructed Victim 1 to undress.     While Victim 1 complied with Leach’s

instructions, Leach shared video feed showing his desktop computer screen, on which he revealed

and then deleted files depicting Victim 1. Victim 1 asked Leach why he still had recordings of her

after he had purportedly deleted them on a prior video call; Leach replied that he had lied to her.

        32.     While Leach shared with Victim 1 video of his desktop screen, Victim 1 observed

that Leach kept files labeled with other women’s names. Leach opened several of these files for

Victim 1 and told her to look at how many “hotter girls” he interacted with. Victim 1 asked Leach

if the other women knew that he had recorded video of them; Leach replied that “some of them”

knew.

        33.     On this same call, Leach asked Victim 1 if she had captured a photograph of him.

Leach told Victim 1 that he “work[s] for the government” and that he understood that “what [he

was] doing is not exactly right.”

        34.     In or about mid-January 2021, Victim 1 received more follow requests and direct

messages from two other Instagram accounts, an account with the username “u.kno_who” (the

“u.kno_who Account”) and an account with the username “u__kno_who.”

        35.     Victim 1 then met with and provided FBI investigators with the Leach Selfie. In

the course of reporting the Target Offenses to law enforcement, Victim 1 performed a reverse




                                                 8
image search with the Leach Selfie, which yielded a photograph of Leach from his student profile

on the University of Georgia’s public website4:




                       Figure 2: Leach’s student profile on the University of Georgia’s website.

Victim 1’s identification of her stalker as Leach is corroborated by information that Leach had

shared with her and her observations during her interactions with Leach, including Leach’s age

(Leach is 23 years old); his location (Leach lives and attends school in Athens, Georgia); his status

as a student and/or government employee (Leach is in a Master of Public Administration program);

and his physical appearance (Leach is a white male of above-average bodyweight).

       36.       FBI investigators also compared the Leach Selfie to Leach’s Georgia driver’s

license photograph:




       4
           Available at https://spia.uga.edu/student/gary-leach/ (last accessed April 15, 2021).

                                                          9
                         Figure 3: Leach’s Georgia driver’s license photograph, AXJXVW2020.

The Leach Selfie appears to show the individual in both Leach’s driver’s license photograph and

Leach’s online student profile photograph.

       37.    Victim 1 also provided FBI investigators with screenshots of harassing follow

requests and messages she received since January 2021, which were consistent with Victim 1’s

reports to investigators:

       38.    In January 2021, for example, Victim 1 received follow requests from the

u.kno_who Account and the u__kno_who username:




                 Figure 4: Screenshots of follow requests from accounts used by Leach, January 2021.

                                                        10
her first and middle names and attempted to initiate a video call with her. Victim 1 indicated that

Leach deleted these messages after Victim 1 did not reply.

       42.       Leach sent Victim 1 more messages, similar in substance, and attempted to initiate

a video call with Victim 1 from the u.gotta_kno.who Account on April 9, 2021:




             Figure 7: Screenshots of harassing Instagram messages from u.gotta_kno.who Account, April 2021.

       43.       On April 19, 2021, Leach requested to follow Victim 1 and messaged her,

“Message me when you can” from another Instagram account with the username

“u_already.kno_who.”

       Facebook Records Link the Target Offenses to Leach

       44.       Between January and April 2021, investigators obtained records from Facebook

that included subscriber information and Internet Protocol (“IP”) address logs for Victim 1’s



                                                          13
Instagram account and several Instagram accounts she identified as potentially used by Leach,

including the u.kno_who Account.

          45.     Facebook records for Victim 1’s account reflected messages sent by the u.kno_who

Account to Victim 1’s account on or around January 21, 2021.

          46.     Facebook records for the u.kno_who Account indicate that the account was

registered on January 15, 2021 from the IP address 96.32.149.162 (the “162 IP Address”).

According to records obtained from Charter Communications, since June 2019, the 162 IP Address

has been subscribed to by an individual residing at                        in Athens, Georgia (“the

Athens Residence”), who is believed to be Leach’s roommate. Leach’s driver’s license records

indicate that he has lived at the Athens Residence since August 2020. Agents have observed as

recently as March 24, 2021 a car registered to Leach’s uncle parked outside of the Athens

Residence.

          47.     Facebook records also identified two devices that had accessed the u.kno_who

Account and 38 other Instagram accounts accessed by one or both of these devices, including the

    guy2020 Account, the christhecool777 Account, and the antonio.af.94 Account—accounts that

had been used to harass Victim 1.

          48.     Many of the 38 linked accounts had been registered from the 162 IP Address (i.e.,

Leach’s Athens Residence). All but one of these accounts appear to have been registered to sham

email addresses containing pseudonyms and hosted by secure email services outside of the United

States;     the    exception     was    an    account    registered   to    the   email    address

garyleach12@[Provider1].com.




                                                 14
       Instagram Messages Reveal Leach’s Stalking and Extortion of Victim 1

       49.     FBI investigators also obtained message content for five of Leach’s Instagram

accounts: the u.kno_who Account, the u.gotta_kno.who Account, the christhecool777 Account,

the antonio.af.94 Account, and the       guy2020 Account (together, the “Leach Accounts”).

       50.     Records from the Leach Accounts contained messages exchanged between Leach

and Victim 1 in February and March 2020. These messages show that, as Victim 1 reported to the

FBI, Leach used several Instagram accounts to stalk and extort her for ongoing communications

of a sexual nature during this period.

       51.     For example, on February 19, 2020, Leach attempted to contact Victim 1 from the

antonio.af.94 Account. After not receiving a response, Leach messaged Victim 1 on February 26,

“So I guess I’ll go ahead and post those.” The same day, Victim 1 replied, “What you want?”

       52.     On February 27, 2020, Leach sent Victim 1 a video from the     guy2020 Account.

Leach and Victim 1 exchanged the following messages:

               Victim 1:       What do you want ??

               Leach:          Do you like the vids?

               Victim 1:       Of course not
                               Why did you record it ?
                               What do you want ?

               Leach:          Was thinking other people might enjoy them

               Victim 1:       You said it was just for you
                               You should’ve let me know
                               What do you want ?

               Leach:          Do you want me to delete them?

               Victim 1:       Yes
                               I have no money, that’s why I thought we had an arrangement

               Leach:          Then chat with me one more time.

                                                15
                              You can watch me delete the vids and pics.

               Victim 1:      Are you going to show me you deleting?

               Leach:         Yes

Victim 1 continued to ask Leach for confirmation that he would not record her and requested, “Can

I see you deleting the videos first?” Leach messaged that he would delete the videos after their

call. Leach then messaged Victim 1 with detailed, graphic instructions for her to follow on the

video call. Victim 1 told Leach, “I’m just scared you’ll record me again.” Leach replied, “I won’t.

This is the last time. No recording. But do what I say.” The video call lasted approximately 15

minutes.

       53.     After the February 27, 2020 video call, Victim 1 repeatedly asked Leach whether

he had recorded the call. Leach initially denied doing so, but later replied, “What would you do if

I did?” Victim 1 and Leach exchanged the following messages:

               Victim 1:      idk honestly cause I don’t want this shit around and I have no money
                              and I don’t think you want money
                              I’d rather we do this once a week than you record me and then use
                              it to get me
                              Now tell me if
                              You did it or not

               Leach:         Are you saying you want to do this once a week?

               Victim 1:      I’m asking first if you recorded it or not

               Leach:         I did

               Victim 1:      Why

               Leach:         Because I wanted it for me

Victim 1 attempted to get Leach to delete the recording. Leach replied, “Hmmm…. so you agree

to do whatever I want once a week? … From now on you call me master.” Leach then sent Victim




                                                16
1 a video that (from related message context) purports to show him deleting the recording of the

video call. He also demanded that Victim 1 send him photographs of her in specific, graphic poses.

       54.     Victim 1 later pressed Leach on whether he kept copies of the videos or

photographs of her that he had purported to delete. Leach acknowledged that he kept files

depicting her and other women on his external hard drive:

               Victim 1:       I need some proof you don’t have copies. You don’t need to show
                               details of your folders but I wanna feel safe
                               Until tonight I felt threatened

               Leach:          Sweetheart I have hundreds of vids and thousands of pictures
                               meticulously categorized by name. I had yours hidden in the 8th
                               season of game of thrones (which no one would ever click on) on
                               my external hard drive. They are gone.
                               No one will ever know about this but me and you.

       55.     Leach also acknowledged to Victim 1 that he used multiple accounts to contact her:

               Leach:          Btw unblock me on the other accounts pls.

               Victim 1:       Why ?
                               We’re already talking here

               Leach:          Just in case I can’t access this one
                               I had to make this account just for you

       56.     The following month, on or around March 16, 2020, Leach contacted Victim 1 from

the christhecool777 Account:

               Leach:          Yo, [nickname for Victim 1]. I want a response today. No blocking,
                               no reporting.
                               As soon as you see this send me a message.
                               I have an ok idea of who should see it first but I would want you to
                               choose between these three

Victim 1 explained to Leach that she had not been receiving any other messages from him and

asked, “What do you want so we can finish this?” Leach told Victim 1 to “unblock antonio.af.94”

and “then lets do a chat.” Victim 1 explained that she needed to get ready for work. Leach replied,



                                                17
“Since you tried to block me you are mine for 3 days … As a heads up I might extend it to 5 days

but that is as far as I will push it.” Victim 1 asked for assurance from Leach that he would then be

“done for good” with her, and Leach replied, “Yes after this deal there is no contact.” Victim 1

then indicated that she had unblocked the antonio.af.94 Account.

       57.     From the antonio.af.94 Account, Leach messaged Victim 1, demanding a video call

from the bathroom at Victim 1’s place of work. Victim 1 indicated that she could not video chat,

and Leach ordered her to send photographs instead. Leach told Victim 1, “I only have one vid of

you left. … I will delete it after a couple chats.” Victim 1 told Leach, “Please. I need this to be

done by Friday. Really.” Leach demanded a video call when Victim 1 returned home from work

late that evening. Leach sent Victim 1 graphic orders throughout the approximately 12-minute

video call. After the call, Victim 1 sent Leach six photographs at Leach’s demand.

       58.     Throughout the rest of that week, Leach sent Victim 1 demands for photographs

and videos through the antonio.af.94 Account and the christhecool777 Account, and Victim 1

complied. During each video call, Leach gave Victim 1 orders to perform specific and graphic

sexual actions. Messages indicate that Leach masturbated during video calls. Victim 1 repeatedly

asked Leach for assurance that he would delete recordings and photographs from prior interactions;

Leach indicated that he would delete this content at a later time. When Victim 1 confronted Leach

about still having a recording that he had purported to delete, Leach replied: “Then I guess it was

in another folder on my computer. Maybe in my cloud.” Victim 1 and Leach exchanged the

following messages:

               Victim 1:      You said you were gonna show the video you had to 3 people if I
                              didn’t do this deal

               Leach:         Well I was thinking mom dad and sis

               Victim 1:      You’re cruel

                                                18
               Leach:         Compliments aren’t gonna get you very far with me
                              But I appreciate its

At the end of the week of video calls with Leach, on March 22, 2020, Victim 1 sent messages over

the course of several hours begging Leach to delete all files he had depicting her. Leach replied,

“But where are the tears?”

       59.     During all of these chats, Victim 1 made clear that she was not a willing participant.

On February 27, messaging with the christhecool777 Account, Victim 1 asked: “But why do you

want me to be like this? Feeling threatened and in shock?” Leach replied, “The shock will wear

off. Don’t feel threatened, the vids and pics are gone and we have a deal. You have nothing to

worry about.” On March 16, 2020, Victim 1 and Leach exchanged the following messages:

               Victim 1:      I’m not asking for money, I’m not asking for anything. Just want
                              this to be done. You have other girls. Please just have a little mercy
                              on me.

               …

               Leach:         Just do as I say and it’ll be done

               Victim 1:      I just wanna know why you want to make me so miserable and to
                              keep
                              Chasing me like this

               Leach:         Honestly
                              It’s fun
                              And you’re hot

               Victim 1:      But I’m not having fun, I’m miserable and I feel awful after every
                              chat

On March 19, 2020, Victim 1 told Leach: “I worry because you showed up out of nowhere after

months with a bunch of non consensual recorded stuff and threatened me and I wanna know why

you’re not doing it again.” Leach replied, “Because I’m gonna get everything I want out of you

first.” Victim 1 pressed Leach: “Is that what you want when you talk around saying you’ll pay

                                                19
for girls? You just want to threaten and extort them?” Leach replied, “It’s fun and it makes me

cum hard.”

       60.     Leach’s extortion of Victim 1 was explicit. On March 20, 2020, Victim 1 and Leach

exchanged the following messages:

               Victim 1:      “I think you’re doing all these and when the chat is done you’re
                              gonna leak and destroy my fucking life[.]”
               …

               Leach:         No if you do what I say no one will ever see or know about these
                              vids

               Victim 1:      Why you wanted to leak them ?

               Leach:         Now send me the pics and vids before you say/ask anything else
                              To get you to do what you are told
                              Like you are

(emphasis supplied).

       Instagram Messages Reveal Harassment of Others

       61.     Message records for the Leach Accounts also reveal interactions between Leach

and other Instagram users that corroborate Victim 1’s identification of Leach as her stalker and her

reports to law enforcement about his Instagram activity.

       62.     In one series of messages over the antonio.af.94 Account, Leach told a user (who

had identified herself to him as a 15-year old high school student) that he was “Gary. That’s the

real name” and that he was a masters’ student at a “top 5 university.”

       63.     In March 2020, Leach used the antonio.af.94 Account to send a video to another

Instagram user threatening to disclose sexually explicit content:

               Leach:         I’ve got like 40 minutes of this. Think your friends might want to
                              enjoy these too?
                              If I don’t hear back I’ll assume you think so
                              Are you not getting these messages?



                                                20
                 64.   Records from the antonio.af.94 Account also indicate that, throughout late 2019

        and early 2020, Leach attempted to solicit video performances of a sexual nature from at least a

        dozen Instagram users other than Victim 1, offering to be their “sugar daddy.” Most of these

        Instagram users chose not to video chat with Leach because he refused to pay them up front. On

        several occasions, Leach solicited video chats from Instagram users and then refused to pay them

        despite their repeated requests that he send the CashApp payment that he had promised.

                 65.   The Leach Accounts also contain messages between Leach and at least 20 other

        Instagram users indicating that Leach contacted the Instagram users, pretending to know them, and

        initiated video calls for the purpose of exposing himself masturbating. When a number of these

        Instagram users did not answer video calls from Leach, Leach sent them unsolicited photographs

        and/or videos of himself masturbating.

                                                   CONCLUSION

                 66.   Based on the information described above, there is probable cause to believe that

        *DU\(/HDFKcommitted the Target Offenses. A complaint and warrant for his arrest should

        issue.

                                                                   Respectfully submitted,


                                                                   ___________________________
                                                                   ZACHARY BRUNE
                                                                   )HGHUDO%XUHDXRI,QYHVWLJDWLRQ

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                                                                   United States Magistrate Judge




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